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                                     IN THE UNITED STATES DISTRICT COURT

                                     FOR THE NORTHERN DISTRICT OF OHIO
                                                EASTERN DIVISION




   ANDREW J. DAVISON


          vs.
                                                                          14 Z-4 CV o, 227
   CITY OF LORAIN,
   CIELO RODRIGUEZ,                                                                         JUDGE BARKER
   MALLORY SANTIAGO,
   PATRICK RILEY,                                                                                 MAG. JUDGE PARKER
   BRENT PAYNE,
   VICTOR PEREZ




   l)Complaintforviolation of civil rights, right to due process, misconduct, illegal search and seizure acting as a
   rubber stamp for police, discrimination, making false statements, deny a citizen the grievance process. Threats
   and harassment right to reasonable bond and wrongful imprisonment grand jury tampering falsified report
   numbers.     \   9~                   ')


   2) BACKGROUND AND FACTS: On 01/03/2023 I noticed 4 people on my ring camera standing outside of
   my door. I also noticed they had a riot shield and vest. I activated my ring camera and asked what was going
   on and how could I help them in which they did not respond to me but engaged in conversation amongst
   themselves stating I had a dog, and they think I was not there and nobody had seen any cars I owned. The
   property manager Denise Nietez of lakeview apartment complex is heard on the video by audio only being the
   police had physically and forcefully removed my camera and placed it on the fire extinguisher in my hallway.
   She asked the officers to please not to kick the door in and that she had the key to access the apartment. At
   that time one of the officers asked, 'you have a key' and she answered yes she then opened the door where
   they entered. At that time, I called federal parole officer Alfred Preston and asked if I had a warrant being he
  would have knowledge of an arrest warrant issued for me. He stated I had no issues with him, and he had no
   knowledge as to why the police would be at my home. I stated I would call and find out at which time I made
   a call to 911 and asked why the police were at my home and had removed my camera and entered my home
   and refuse to respond to me on the ring. She stated it's an investigation and she can't give me any information,
   I stated well I would like to make a police report because my property has been damaged by them. She placed
   me on hold and came back with a phone number to call. I called the number, was placed on hold and then a
   det. Cielo Rodriguez #3312 stated he needed to speak with me and could I meet with him. I stated I have
   been talking to you in the ring this whole time and you would not respond he said I know and could you meet
   me at the Lorain police station and talk I stated I was already there and he stated he was on his way. While
   sitting in the lobby a side door opened and det. Cielo Rodriguez and det. Brent Payne came out and asked me




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   to come their way once arrival they stated they had a warrant for my arrest I asked why and they stated drug
   trafficking they then read me my rights and asked if I would like to talk to them or not I invoked my right to
   remain silent and was placed in a room with officer Payne. He searched me and took my currency out of my
   pocket and my cellphone. He started counting my U.S. currency and stopped and asked, "you don't even care
   how much we got you for?' in which I stated I don't traffic so no I don't care about how much when you should
   have told me that when you arrested me. He went back to counting the money then stopped and placed the
   money in 1 envelope and the cellphone in another. We sat quietly until I was told my ride was there which was
   a female officer that I don't know by name. Brent Payne had handed my property to the female officer and we
   were walking out of the door when det. Rodriguez came running from a unknown location and took my property
   from the transportation officer and stated he was seizing them. I stated I had not seen a search and seizure
   form, nor had I seen the amount of money they had taken being I had been paying bills on that date and didn't
   have the exact number but believed it to be 3,300 to 3,500 U.S dollars. He stated I would probably get it
   back but right then he was seizing it due to his investigation I stated I'm in handcuffs how can you still be
   investigating me he did not respond, and I was taken to the Lorain County jail and made my phone call to
   family informing them of my situation.


   I had no bond and had to appear in front of the court the next morning on arraignment and bail and reading
   of charges when it was time for bail the court asked the prosecution recommendations and you hear det.
   Rodriguez request a 100,000$ bond with a gps and the court considered that and made it my bond. I posted
   bond and paid 320$ for a GPS through a private agency lockup LLC and was to make a payment of 320$ a
   month to remain on bond. On 01/04/2023 I contacted Alfred Preston and updated him of my charges and
   bond. I also hired Anthony Baker to represent me, and my preliminary hearing was set for 01/10/2023 I had
   not heard anything from attorney baker so I didn't know what was going to happen at court but I did notify
   Alfred Preston of the hearing and date and time. When my case was called, I approached and asked my
   attorney what was going to happen, and he stated he was going to ask for a continuance being the police and
   prosecution had given him no evidence or police reports so we did not know what they would present other
   than testimony of det. Rodriguez. I asked well they could dismiss if they have no evidence, he stated the judge
   would accept whatever the police say and find probable cause. I stated well let's see what he has to say sense
   nobody has any reports. The court asked what we wanted to do, and I told my lawyer the only way I'm not
   having my hearing today is if they remove the GPS because I was in fear of my safety being I had been through
   false warrants before with no record of them being issued or returned but on record saying it's an official
   document. He advised the court that we wanted to file a motion to modify bond and have the GPS removed
   being 100,000$ was a high enough bond to assure I came to court. At that time det. Rodriguez states that
   my federal parole officer has concerns about me because I have not been in contact with him and even that
   morning he inquired about the GPS and that he was in support of it. Prosecutor Mallory Santiago repeated
   what det. Rodriguez stated to the court at that time on record I stated that was a lie and a complete false
   statement and that was more reason to fear for my safety because det. Rodriguez has no problem making
   complete lies up without being provoked to do so. The judge ruled in the states favor and kept the GPS on at
   that time no one was monitoring the GPS that I was paying 320$ a month for. So, he ordered CSR to appoint
   someone to monitor the gps I had 0 restrictions and was not to report to CSR just that they would be the one
   monitoring the GPS. I stated ok I will be having my hearing, and I was seated until the hearing. At the hearing
   det. Rodriguez testified to one control buy for a single date and time at that he had no evidence or reports
   because they were on a file at his office. The court found probable cause based off his testimony and bonded
   it over to the grand jury. While waiting to be indicted I made many phone calls asking attorney baker the status
   of the indictment he would only state I wouldn't be worried I also informed him that my I had spoken to Alfred
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   Preston and relayed what was said at my hearing on 01/10/2023 and that did he tell det. Rodriguez that I
   had not been in contact with him and that he supported a GPS on me because that is what was told to the
   court and he took that into consideration on ruling on my motion to remove the gps. He stated if I wanted a
   GPS on you, I can put one on you I'm not working with them I have my own GPS and I can never tell them
   you were not in contact because I just seen you and your in compliance and you the one who called me and
   said they were at your home. I asked would he relay that information to my attorney in which he stated he had
   no problem doing so. I gave attorney baker his cellphone number and they spoke, and he filed another motion
   to modify bond removing the GPS and to clarify the record being CSR had received a form with restrictions
   when the judge had ordered none but somehow the clerk or whoever did the document marked what they
   wanted and not was stated. I'm reporting to CSR doing urine test travel request forms and everything they
   want with the threat of jail if I do not. Being my case had not been indicted it went in front of the administrative
  judge who was judge James Maraldi he denied my motion stating that the court takes entries over word of
   mouth I stated the entry was not correct and the transcript says the truth he told me he did not give advice
   and my motion was denied.


   On 07/30/2023 I received a text message from attorney Anthony Baker stating I had been indicted and that
   I had 6 charges now and from two different dates. I asked him how do we have different dates now when you
   asked him at the preliminary hearing, and he said 1 buy from 1 day? He stated he didn't know, and he had
   not been able to see the discovery yet. I asked what discovery because at the hearing they did not give us one
   piece of paperwork stating anything so where did another date come from. I was told my arraignment was on
   08/03/2023 at 8:45 AM courtroom#705. My lawyer had showed up late so we did not have a chance to
   talk so when they called my name and we met at the podium he asked have you been seNed the indictment
   yet and I answered no the sheriff than approached and handing me an envelope with the indictment when I
   went to open it the judge doing the arraignments asked my plea and asked if I waive reading of indictment
   and waiver to challenge the indictment. I stated I was just handed it so can I have time to read it she answered
   well you don't have to waive anything or sign anything and I stated I would not be waiving or signing anything,
   and I was told I could leave in which I did. I called my attorney and asked where they could get this information
   from being it was left out of the hearing, and they have not given a police report. He stated we had to wait for
   discovery, and I stated it had to be some type of grand jury tampering because I don't see how the grand jury
   can have information we do not or even heard about. When discovery did come, I seen that a narrative report
   had been done and instructing to what to charge me with. The problem was that the narrative report had the
   same report number as the initial report and complaint and it was labeled first police report I reached out to
   attorney baker with my concerns and letting him no they used the narrative report to try to backdate the report
   but the narrative report was clearly after my arrest being it had information that dated after my arrest and
   preliminary hearing and if this report was made after my hearing then who took it to the grand jury because
   they should have only had the transcript of the hearing being that was the only evidence submitted so who
   did this report and who did they give it to that could get it in the grand jury? I felt attorney baker was no longer
   being honest and could not be trusted any longer and I sought different counsel. I retained Clarissa smith and
   updated her on my case and my issues including but not limited to the statements made to the judge in which
   I knew were false and she stated if those statements were false, and you challenged them the court considered
   those statements in making a ruling then that is an issue. She obtained the audio of my preliminary hearing
   and heard the statements being made and by whom she then contacted Alfred Preston to hear his side and
   he advised her that him and det. Rodriguez did not have those conversations only that he told him of Mr.
   Davison arrest in which he already knew and asking of an address for me and tow truck information. With the
   audio of the hearing attorney Clarissa smith made a motion to modify bond and a date was set for 11/13/2023
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   at the hearing prosecution Mallory Santiago stated it was her on the tape and that whatever was said on the
   tape she said and that any information she told to the court she had received from case and chief officer det.
   Rodriguez, Det. Rodriguez was called as the next witness, and he stated he could not recall the full incident
   but that he did not remember talking to Alfred Preston about bond or gps just that he was worried because I
   had not been in contact again the judge James Maraldi tried to get him to clarify when he repeated the same
   thing. He stated he would be shocked if Alfred Preston stated different. In which Clarissa smith proffered for
   Alfred Preston based off her conversations had with Alfred Preston the court ruled he believed her proffer and
   denied my motion in part and granted my motion in part I now no longer had to pay for the GPS until the date
   of my trial less than 30 days away but now det. Rodriguez comes with a new reason for keeping it on is now
   I know the identity of the Cl.


   On that same day 11/13/2023 I left court and went to the Lorain police department to obtain information on
   how to file a complaint against det. Rodriguez for violating my rights by making false statements on me on the
   record to the court, also for destroying my ring camera and for taking my money and cellphone illegally. I file:::l
   a complaint on 11/16/2023 I then attempted to contact law directory Patrick riley trying to seek information
   to file a complaint against Mallory Santiago and was told by the women who answered he had just went on
   vacation that day and I had to wait until the 20th until he was back and that he was also the only person I
   could file a complaint with or gather information to file a complaint. On 11 /20/23 I called back and was told
   he was in a meeting, I called back the next day and was told he was in a meeting with the mayor. I called back
   again and was told he would contact me back by close of business that day in which he did not The next day
   I called again and was informed that he would not take my call, nor would he return my call or give me
   information on how to file a complaint or take my complaint I believe that is so wrong that a citizen seeks
   information to do things the right way and is told no just because of bias and trying to protect an employee.


   My trial date remained 12/07/2023 in which I had no intension of changing because the evidence against me
   that I was allowed to see did not seem like it supported what was being claimed, I asked attorney smith when
   I would be allowed to see the alleged buys and phone calls and she stated they had put something on the
   evidence stating for attorney's eyes only. I asked doesn't that played a part in my decision to go to trial or not
   and she stated yes, and she would ask the court or prosecution to remove the order in which it was denied. I
   still maintained my innocence and decided to proceed with trial. On 12/06/2023 attorney smith contacted
   me stating the court had contacted her and asked her was there any last-minute motions that we had planned
   on filing before trial tomorrow. She stated there were a few she was considering, and they asked was one a
   speedy trial rights violation, She stated that's one of them and she was advised to file the motion before trial.


   On 12/07/2023 I went to court and was expecting my trial but was advised by attorney that trial was cancel le:::l
   and that they had stated they were over my time being I never waived speedy trial rights and the information
   they were relying on was from a forged signature by previous attorney Anthony baker and papers saying I
   waived my preliminary hearing in which I did not the record reflects I had my hearing.


   Since my complaint was filed on det. Rodriguez, they are holding up investigating it and I have received false
   information from the police as well as threats and being denied the ability to file a police report. As of
   02/04/2024 I tried to file a police report for threatening phone calls and someone texting me about guns and
   drugs I was asked do I know who is calling I stated no, I was asked who I thought it was and I stated Lorain
   police officers, At that time a sergeant came with body cam, and I was told to file a complaint and add it to
   the one against Rodriguez. I don't know why I'm not certain it was him.
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   On 01/30/2023 my case was dismissed for speedy trial violations.


   Also, the discovery has revealed that it was prosecutor Mallory Santiago took the complaintfrom det Rodriguez
   and the first affidavitthat I do not believe anyone would have issued an arrest warrant as well as det. Rodriguez
   saying a buy happened in a city where he is not a police officer. Also how did he add the narrative report and
   any other evidence. Enterprise car rental states they only give information of a driver through police report or
   warrant, or subpoena so how did he get my information why did he not state he did not have a search warrant
   or a nonconsensual waiver to enter my home.


   As of today, there are motions Victor Perez has not responded to and the court has allowed it.


   On 02/02/2024 I received text messages from two different phone numbers one being 440-671-3951 and
   219-258-6625 and a phone call telling me to stop filing complaints or something would stick in my anus they
   also were talking about guns and drugs I believe. I went to the police station in Lorain Ohio to make a police
   report on phone harassment and threats when asked if I knew the identity of the caller I stated no and when
   asked if I had idea of who I thought it may be I stated I thought it to be Lorain police officers being I just had
   gotten the new number and they had equipment to get access to my phone number I also stated that the
   police had the equipment to access to find the identity of the caller/callers I was told to fill out another complaint
   to the board of professional standards and add it to my already complaint from 11/16/2023 which had no
   updates as of date I rather would have had a police report but was told to file a complaint.




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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OHIO


                                    )
                                    )
                                    )
                                    )
    Plaintiff                       )    CASE NO.
                                    )
                                    )
            -vs-                    )    JUDGE
                                    )
                                    )
                                    )
                                    )          COMPLAINT
    Defendant(s)                    )
                                    )
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Pro Se 1 (Rev. 12/16) Complaint for a Civil Case



                                        UNITED STATES DISTRICT COURT
                                                                      for the

                                                   No ~\~L"-.~District of
                                                                        Division


                                                                        )       Case No.
                                                                        )                      (to be filled in by the Clerk's Office)
                                                                        )
                              Plaintijf(s)                              )
(Write the fitll name ofeach plaintiffwho is filing this complaint.
If the names ofall the plaintiffs cannot fit in the space above,
                                                                        )       Jury Trial: (check one)     '2(Yes D No
please wn'te ''see attached" in the space and attach an additional      )
page with the fall list of names.)                                      )
                                  -v-                                   )
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                                                                        )
                                           p,                           )
                              Defendant(s)                              )
(Write the full name of each defendant who is being sued If the         )
names of all the defendants cannot fit in the space above, please
write "see attached" in the space and attach an additional page
with the fitll list ofnames.)



                                                   COMPLAINT FOR A CIVIL CASE


I.         The Parties to This Complaint
           A.         The Plaintiff(s)

                      Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                      needed.
                                 Name
                                 Street Address
                                 City and County
                                 State and Zip Code
                                 Telephone Number
                                 E-mail Address

           B.         The Defendant(s)

                      Provide the information below for each defendant named in the complah1t, whether the defendant is an
                      individual, a government agency, an organization, or a corporation. For an individual defendant,
                      include the person1s job or title (if known). Attach additional pages if needed.

                                                                                                                                         Page 1 of S
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Pro Se 1 (Rev. 12/16) Complaint for a Civil Case


                      Defendant No. 1
                                Name
                                 Job or Title (if known)
                                 Street Address
                                 City and County
                                 State and Zip Code
                                 Telephone Number
                                E-mail Address (ifknown)


                      Defendant No. 2
                                Name
                                 Job or Title at known)
                                 Street Address
                                 City and County
                                 State and Zip Code
                                 Telephone Number
                                E-mail Address (ff known)


                      Defendant No. 3
                                 Name
                                 Job or Title (if known)
                                 Street Address
                                 City and County
                                 State and Zip Code
                                 Telephone Number
                                 E-mail Address (if known)


                      Defendant No. 4
                                 Name
                                 Job or Title (if known)
                                 Street Address
                                 City and County             ........ L.0 ~!...!..\..1...C\......JL._ _ _ _ _
                                                                                                            L_,_,,...._r:,L..'tL----=-=')..:::,_tl.--'0-4--------
                                 State and Zip Code                                                                 '-I L; o S")        'I

                                 Telephone Number
                                 E-mail Address (if known)




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Pro Se 1 (Rev. 12/16) Complaint for a Civil Case


II.       Basis for Jurisdiction

          Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

           What is the basis for federal court jurisdiction? (check all that apply)
                 [8 Federal question                               D Diversity of citizenship

          Fill out the paragraphs in this section that apply to this case.

          A.         If the Basis for Jurisdiction Is a Federal Question

                     List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                     are at issue in this case.




           B.        If the Basis for Jurisdiction I~ Diversity of Citizenship

                      1.        The Plaintiff(s)

                                a.         If the plaintiff is an individual
                                           The plaintiff, (name)                                                 , is a citizen of the
                                           State of (name)


                                b.         If the plaintiff is a corporation
                                           The plaintiff, (name)                                                 , is incorporated
                                                                   -----------------
                                           under the laws of the State of (name)
                                            and has its principal place of business in the State of (name)



                                (If more than one plaintiff is named in the complaint, attach an additional page providing the
                                same information for each additional plaintiff.)

                     2.         The Defendant(s)

                                 a.        If the defendant is an individual
                                           The defendant, (name)                                                 . is a citizen of
                                                                      -----~----------
                                           the State of (name)                                               . Or is a citizen of
                                            (foreign nation)


                                                                                                                             Page3 of 5
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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non-Prisoner)




           D.        Section 1983 allows defendants to be found liable only when they have acted "under color of any
                     statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia."
                     42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
                     of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
                     federal law. Attach additional pages if needed.
                      mallory santiago was in her official capacity as prosecuter cielo rodriguez was in official compacity as a
                      det for lorain police deparement as well as brent payne and law director patrick riley was acting law
                      director when he denied me information to file a complaint or take my complaint




III.      Statement of Claim

          State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
          alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
          further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
          any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
          statement of each claim in a separate paragraph. Attach additional pages if needed.

          A.          Where did the events giving rise to your claim(s) occur?
                      lorain municipal court, lorain police department my apartment




          B.          What date and approximate time did the events giving rise to your claim(s) occur?
                      01/03/2023 1Oam              01/10/2023 1Oam 11/13/2023 11 am 11/13/2023 2pm     02/02/2024 9am




          C.          What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
                      Was anyone else involved? Who else saw what happened?)
                      my money was taken and siezed without any reciept or seizure form false statements were made to a
                      judge to consider bond motion discovery was falsified and added to a report number than somehow
                      handed to the granjury i was denied the grievance process intentially to protect a prosecutor i was
                      denied my right to a reasonable bond




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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non-Prisoner)



IV.      Injuries

         If you sustained injuries related to the events alleged above, describe your injuries and state what medical
         treatment, if any, you required and did or did not receive.




V.        Relief

          State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
          If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
          the acts alleged. Explain the basis for these claims.
          i lost 3,300$ dollars in US currency illegal taken and a red iphone 12 i had to pay 10,000$ to post bond on the
          charge. i also had to pay 320$ a month for a gps out of pocket from 01/04/2023 - 11/13/2023 i also had retain
          two differnet attorneys one bill for 1,000$ the second for 15,000$ i spent 4,000$ on a vaction for my birthday for
          a vaction i could not enjoy due to the gps and not being able to swim. 100 in gas to keep having gps replaced


          i also would like to request 50 million dollars in punitive damages being this a reoccuring thing and this case lead
          to me being not released from parole on time and still remain on from this case and even though my case was
          dismissed i have to be on parole until a hearing date of march for mental anguish pain and suffering and being i
          have been sent to prison for 20 years of my 41 years in this world for the same exact procedure and nothing has
          changed

          i ask the court to file charges on all named individuals named and unnamed and order the return of property loss
          and money requested




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Pro Se 1 (Rev. 12/16) Complaint for a Civil Case




V.         Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
          and belief that this complaint: ( 1) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
          requirements of Rule 11.

          A.          For Parties Without an Attorney

                      I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                      served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                      in the dismissal of my case.

                      Date of signing:


                      Signature of Plaintiff
                      Printed Name of Plaintiff

           B.        For Attorneys

                      Date of signing:


                      Signature of Attorney
                      Printed Name of Attorney
                      Bar Number
                     Name of Law Finn
                      Street Address
                      State and Zip Code
                      Telephone Number
                      E-mail Address




                                                                                                                        Page 5 of 5
